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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )        2:11cr191-MHT
CEDRIN FARODD CARTER and           )             (WO)
JEFFERY NOLAN BENNETT              )


                        OPINION AND ORDER

    This cause is before the court on the motion to

continue, filed by defendant Jeffery Nolan Bennett on May

21, 2012.     The trial of defendants Bennett and Cedrin

Farodd Carter is currently set for June 4, 2012.                For the

reasons set forth below, the court finds that the trial

for both defendants should be continued until July 30,

2012, pursuant to 18 U.S.C. § 3161(h)(7)(A).

    While the granting of a continuance is left to the

sound discretion of the trial judge, see United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act.

The Act provides, in part, as follows:
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          “In any case in which a plea of not
          guilty is entered, the trial of a
          defendant charged in an information or
          indictment with the commission of an
          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs.”

18 U.S.C. § 3161(c)(1).         However, the Act excludes from

the 70-day period any continuance based on “findings that

the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a

speedy trial.”     Id. § 3161(h)(7)(A).           In granting such a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance “would deny

counsel   for   the    defendant       or   the   attorney    for       the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”     Id. § 3161(h)(7)(B)(iv).           Furthermore, the

Act excludes “A reasonable period of delay when the

defendant is joined for trial with a codefendant as to

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whom the time for trial has not run and no motion for

severance has been granted.”           Id. § 3161(h)(6).

    This court finds that the ends of justice served by

continuing this trial outweigh the best interest of the

public and defendants Bennett and Carter in a speedy

trial.     This    is   a   complex     case    involving     numerous

documents and scores of recorded telephone conversations.

Defense counsel for Bennett, however, was only recently

appointed and there is simply no way for him to prepare

this case adequately for trial in the two weeks remaining

between now and June 4, 2012.          A continuance is therefore

necessary to ensure that Bennett receives an adequate

defense at trial.        Neither co-defendant Carter nor the

government objects to granting such a continuance, and the

court finds that the need for adequate representation in

this case outweighs any interest in a speedy trial.

                                 ***

    Accordingly, it is ORDERED that:




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    (1) Defendant       Jeffery     Nolan    Bennett’s      motion      to

continue (doc. no. 284) is granted.

    (2) The trial and jury selection for both defendants

Bennett and Cedrin Farodd Carter are continued to July 30,

2012,   at   10:00    a.m.    at   the    federal     courthouse        in

Montgomery, Alabama.

    DONE, this the 23rd day of May, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
